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                      EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                     PLAINTIFF DEI COPYRIGHTED PROPERTIES



                        COPYRIGHT
     CHARACTER                                 TITLE OF WORK          TYPE OF WORK
                         REG. NO.

       Aladdin          VA 504-973                   Aladdin          Licensing Kit
                                                                        Product
         Alice         VA 1-969-547    Disney Alice in Wonderland
                                                                      Development
                                        Disney Frozen Product           Product
        Anna           VA 1-887-054   Development Portfolio FH13      Development
                                               Update                   Portfolio

      Anton Ego        VA 1-395-600        Ratatouille Cookbook        Style Guide

         Ariel          VA 851-710          The Little Mermaid         Style Guide

                                      The Disney Princess Branding      Branding
         Ariel         TX 5-520-621
                                            Guide 2002-2004              Guide

         Ariel         VAu 143-283          The Little Mermaid        Licensing Kit

         Ariel          VA 851-710          The Little Mermaid         Style Guide

                                      The Disney Princess Branding      Branding
        Aurora         TX 5-520-621
                                            Guide 2002-2004              Guide
                                                                      Pamphlet of
        Bambi           VA 124-730       Disney Character Guide
                                                                       Drawings
                                                                        Product
                                       Disney Big Hero 6 – Product
       Baymax          VA 1-944-063                                   Development
                                         Development Portfolio
                                                                        Portfolio
        Beast          VAu 210-914    Disney’s Beauty and the Beast   Licensing Kit

                                           The Disney Princess          Branding
         Belle         TX 5-520-621
                                        Branding Guide 2002-2004         Guide


         Belle         VAu 210-914    Disney’s Beauty and the Beast   Licensing Kit


    Buzz Lightyear     VAu 337-566     Toy Story – Buzz Lightyear       Artwork



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                         EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                   PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                          COPYRIGHT
      CHARACTER                                   TITLE OF WORK         TYPE OF WORK
                           REG. NO.

    Buzz Lightyear        VA 735-197                    Toy Story        Style Guide

                                            Shanghai Disney Resort
        Castle           VAu 1-224-516                                   Style Guide
                                                Castle Graphic

                                           Rundisney WDW Marathon
        Castle           VAu 1-360-045                                   Style Guide
                                                 Weekend 2017

                                           Christmas 2017 Woodland
        Castle           VAu 1-359-338                                   Style Guide
                                              Wonder Storybook
                                                                        Pamphlet of
         Chip             VA 124-730        Disney Character Guide
                                                                         Drawings
                                                                        Pamphlet of
     Chip and Dale        VA 124-730        Disney Character Guide
                                                                         Drawings
                                                                         Branding &
                                            Cinderella Branding and
      Cinderella          VA 1-831-706                                    Packaging
                                                  Packaging
                                                                            Guide
                                         The Disney Princess Branding     Branding
      Cinderella          TX 5-520-621
                                               Guide 2002-2004             Guide
                                                                        Pamphlet of
         Dale             VA 124-730        Disney Character Guide
                                                                         Drawings

      Dalmatians          VAu 188-163    Walt Disney’s 101 Dalmatians   Licensing Kit


                                             Disney Dumbo Heritage        Portfolio
        Dumbo             VA 2-133-757
                                             Guide Portfolio Version       Guide

                                             Disney Frozen Product        Product
         Elsa             VA 1-887-054       Development Portfolio      Development
                                                 FH13 Update              Portfolio

         Eric             VAu 143-283          The Little Mermaid       Licensing Kit




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                         EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                   PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                          COPYRIGHT
      CHARACTER                                   TITLE OF WORK         TYPE OF WORK
                           REG. NO.
                                                                        Pamphlet of
        Fauna             VA 124-730        Disney Character Guide
                                                                         Drawings
                                                                        Pamphlet of
         Flora            VA 124-730        Disney Character Guide
                                                                         Drawings
       Flounder           VA 851-710           The Little Mermaid        Style Guide

       Flounder           VAu 143-283          The Little Mermaid       Licensing Kit
                                                                        Branding and
                                             Tangled Branding and
         Flynn            VA 1-729-798                                   Packaging
                                             Packaging Guidelines
                                                                           Guide
         Genie            VA 504-973                    Aladdin         Licensing Kit

                                               Winnie the Pooh
      Hunny Pot           VA 2-202-228                                    Portfolio
                                             Up in Time for Hunny

                                         Tim Burton’s The Nightmare
    Jack Skellington      VA 1-733-698     Before Christmas Design       Style Guide
                                                   Portfolio

         Jafar            VA 504-973                    Aladdin         Licensing Kit

                                         The Disney Princess Branding     Branding
        Jasmine           TX 5-520-621
                                               Guide 2002-2004             Guide

        Jasmine           VA 504-973                    Aladdin         Licensing Kit
                                                                        Pamphlet of
     John Darling         VA 124-730        Disney Character Guide
                                                                         Drawings
                                                                          Product
      Mad Hatter          VA 1-969-547    Disney Alice in Wonderland
                                                                        Development
                                                                        Pamphlet of
      Maleficent          VA 124-730        Disney Character Guide
                                                                         Drawings
                                                                          Product
      March Hare          VA 1-969-547    Disney Alice in Wonderland
                                                                        Development
                                                                        Pamphlet of
         Marie            VA 124-730        Disney Character Guide
                                                                         Drawings


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                   PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                          COPYRIGHT
      CHARACTER                                   TITLE OF WORK       TYPE OF WORK
                           REG. NO.
                                                                       Pamphlet of
     Merryweather         VA 124-730        Disney Character Guide
                                                                        Drawings
                                                                       Pamphlet of
    Michael Darling       VA 124-730        Disney Character Guide
                                                                        Drawings
                                             Disney Mickey Mouse:
                                                                       Foundation
    Mickey Mouse          VA 1-886-838        Mickey And Friends
                                                                         Guide
                                               Foundation Guide

                                           Christmas 2017 Woodland
    Mickey Mouse         VAu 1-359-338                                 Style Guide
                                              Wonder Storybook

    Mickey Mouse           Gp 80183               Mickey Mouse         Model Sheet

     Minnie Mouse         VA 1-857-568        It’s All About Minnie    Style Guide

    Minnie Mouse           Gp 80191               Minnie Mouse         Model Sheet

                                              Disney Minnie Mouse:
  Minnie Mouse Ears       VA 2-046-132                                  Portfolio
                                              The House of Minnie

  Minnie Three Circles                                                  Branding
                          VA 2-056-418    Disney Minnie Mouse Adult
        Design                                                           Guide

        Moana             VA 2-049-805            Disney Moana         Style Guide

         Olaf            VAu 1-155-858             Frozen - Olaf      Model Sheets

                                         Tim Burton’s The Nightmare
     Oogie Boogie         VA 1-733-698     Before Christmas Design     Style Guide
                                                   Portfolio

       Peter Pan           RE 64-027                    Peter Pan     Motion Picture
                                                                       Pamphlet of
       Peter Pan          VA 124-730        Disney Character Guide
                                                                        Drawings
                                                                       Pamphlet of
         Piglet           VA 124-730        Disney Character Guide
                                                                        Drawings


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                  PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                         COPYRIGHT
      CHARACTER                                  TITLE OF WORK          TYPE OF WORK
                          REG. NO.

                                          Pirates of the Caribbean –
        Pirates          VA 1-369-221                                    Style Guide
                                          Umbrella Branding Guide

     Pirates of the                       Pirates of the Caribbean –
                         VA 1-369-221                                    Style Guide
      Caribbean                           Umbrella Branding Guide

                                         Pirates of the Caribbean: At
     Pirates of the
                         VA 1-414-966      World’s End Packaging         Style Guide
      Caribbean
                                                   Updates
                                           Pluto Publications Model
         Pluto            Gp 80192                                      Model Sheet
                                                    Sheet
                                                                        Pamphlet of
   Prince Charming       VA 124-730        Disney Character Guide
                                                                         Drawings
                                                                        Pamphlet of
     Prince Phillip      VA 124-730        Disney Character Guide
                                                                         Drawings
    Queen of Hearts      VA 1-969-547    Disney Alice in Wonderland      Style Guide

                                            Tangled Branding and          Branding
       Rapunzel          VA 1-729-798
                                            Packaging Guidelines           Guide

      Ratatouille        VA 1-395-600        Ratatouille Cookbook        Style Guide

                                                                        Pamphlet of
      Robinhood          VA 124-730        Disney Character Guide
                                                                         Drawings

                                        Tim Burton’s The Nightmare
         Sally           VA 1-733-698     Before Christmas Design        Style Guide
                                                  Portfolio

        Simba            VA 611-201              The Lion King          Licensing Kit

                                           Snow White & the Seven
     Snow White          TXu 546-761                                    Licensing Kit
                                                 Dwarfs




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                    PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                           COPYRIGHT
      CHARACTER                                    TITLE OF WORK         TYPE OF WORK
                            REG. NO.

                                          Disney Princess: Snow White
      Snow White           VA 1-893-848                                   Style Guide
                                            – The Fairest One of All

                                          The Disney Princess Branding     Branding
      Snow White           TX 5-520-621
                                                Guide 2002-2004             Guide

                                                                         Pamphlet of
    Sorcerer Mickey        VA 124-730        Disney Character Guide
                                                                          Drawings

         Stitch            VA 1-094-896            Lilo and Stitch        Style Guide


    The Incredibles        VA 1-242-351           The Incredibles         Style Guide


                                             Simply Mickey Fashion &
  Three Circles Design     VA 1-812-381                                   Style Guide
                                                 Home P- Infant


                                                                           Branding
  Three Circles Design     VA 2-056-530    Disney Mickey Mouse Adult
                                                                            Guide

                                                                           Product
         Tiana             VA 1-681-711     Princess and the Frog, The   Development
                                                                           Portfolio

      Tinker Bell          VA 891-493      Disney Classics – Volume II    Style Guide


      Tinker Bell          VA 1-110-867       Tinker Bell Style Guide     Style Guide


        Ursula             VA 851-710           The Little Mermaid        Style Guide




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                       EX. A – PLAINTIFFS’ COPYRIGHT INDEX


                 PLAINTIFF DEI COPYRIGHTED PROPERTIES [CONT’D.]



                        COPYRIGHT
      CHARACTER                                 TITLE OF WORK         TYPE OF WORK
                         REG. NO.


        Ursula          VAu 143-283          The Little Mermaid       Licensing Kit


                                                                      Pamphlet of
    Wendy Darling       VA 124-730        Disney Character Guide
                                                                       Drawings

     White Rabbit       VA 1-969-547    Disney Alice in Wonderland     Style Guide


    Winnie the Pooh      VA 58-940       Pooh – 1 (Winnie the Pooh)   Model Sheet


                                                                      Pamphlet of
    Winnie the Pooh     VA 124-730        Disney Character Guide
                                                                       Drawings

        Woody           VA 735-197                    Toy Story        Style Guide


        Woody           VA 455-926                Toy Story 2          Style Guide


                                       Tim Burton’s The Nightmare
         Zero           VA 1-733-698     Before Christmas Design       Style Guide
                                                 Portfolio




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                    PLAINTIFF LUCASFILM COPYRIGHTED PROPERTIES



                           COPYRIGHT
      CHARACTER                                   TITLE OF WORK      TYPE OF WORK
                            REG. NO.


                                                   Star Wars:
      Darth Vader         VA 1-910-796                                Style Guide
                                               Classics – Guide EV


   The Mandalorian:                             The Mandalorian:
                          VA 2-180-254                                Style Guide
      The Child                                    The Child


                                                    Star Wars:
         Yoda             VA 1-910-796                                 Portfolio
                                               Classics – Guide EV




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